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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                         CRIMINAL ACTION NO. 07-50097-02

 VERSUS                                           JUDGE S. MAURICE HICKS, JR.

 VERNON C. CLAVILLE                               MAGISTRATE JUDGE HORNSBY

                                 MEMORANDUM ORDER

        Before the Court is a “Motion to Strike Surveillance and Wire Tapping Recorded by

 the Government” (Record Document 50) filed by the defendant, Vernon Claville (“Claville”).

 The motion to strike is vague and ill drafted; yet, it appears that Claville moves to strike

 and/or exclude the videotaped surveillance of the alleged bribe payment made to him and

 any testimonial evidence on the wiretaps. The Government opposed the motion to strike.

 See Record Document 74. Based on the following analysis, the motion to strike is

 DENIED.

        A few background facts are necessary. On July 21, 2007, the FBI executed an

 anticipatory search warrant for the person and/or vehicle of Claville. The Government

 believed that Travis McCullough (“McCullough”), who was cooperating with the FBI, was

 going to pay a bribe to Claville. The Government secured an anticipatory search warrant,

 and once McCullough paid Claville, FBI agents approached him to execute the warrant.

 After the warrant was executed, Claville produced eighteen $20 bills. These bills had been

 previously provided to McCullough by the FBI. FBI Special Agent J.T. Coleman told

 Claville that the FBI was looking at McCullough and that he would appreciate it if Claville

 did not discuss the matter. Claville agreed. As Agent Coleman was writing a receipt for

 the money, Claville acknowledged that he had gotten the money from McCullough, but
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 claimed that McCullough owed him the money for a gambling debt. The alleged bribe

 payment was videotaped by the FBI, but the execution of the anticipatory search warrant

 was not.

 Anticipatory Search Warrant and Videotaped Surveillance

        Claville “moves to strike and/or exclude the videotaped execution of the search

 warrant” executed against him because its prejudicial effect outweighs its probative value

 under Federal Rule of Evidence 403.1 Record Document 81 at 1. Although he referred to

 the execution of the search warrant, the Court must assume that Claville seeks to exclude

 the videotape surveillance showing the alleged bribe payment, as the execution of the

 anticipatory search warrant was not videotaped. Claville contends that “showing only the

 prejudicial portion of the surveillance when any potential exculpatory evidence was

 deliberately not recorded will be misleading to the jury and prejudicial.” Id. at 2.

        There is nothing in the law requiring the FBI to videotape all aspects of its

 surveillance. Claville has also failed to provide any evidence to support his conclusory

 allegation that the Government deliberately failed to preserve exculpatory evidence and

 only recorded prejudicial material. Further, contrary to Claville’s contention, it does not

 appear that his statement to Agent Coleman pertaining to the source of the money is truly

 exculpatory. Exculpatory evidence “is evidence favorable to an accused, so that, if



        1
            Rule 403 provides:

        Although relevant, evidence may be excluded if its probative value is
        substantially outweighed by the danger of unfair prejudice, confusion of the
        issues, or misleading the jury, or by considerations of undue delay, waste of
        time, or needless presentation of cumulative evidence.


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 disclosed and used effectively, it may make the difference between conviction and

 acquittal.” U.S. v. Bagley, 473 U.S. 667, 676, 105 S.Ct. 3375, 3380 (1985). The FBI

 recorded a series of phone calls between McCullough and Claville leading up to alleged

 bribe and the execution of the anticipatory search warrant. Based on the content of these

 phone calls, wherein McCullough attempts to bribe Claville for the release of a juvenile

 court hold against Jamie White, it appears that Claville’s statement that the money was for

 a gambling debt is untruthful. In light of the content of these phone calls, Claville’s

 statement is not exculpatory. Further, according to the Government, the statement was

 not reduced to writing and will not be used at trial. See F.R.Cr.P. 16.2




        2
            Rule 16(a) states, in pertinent part:

        (1)       Information Subject to Disclosure.

                  (A)    Defendant’s Oral Statement. Upon a defendant’s request, the
                         government must disclose to the defendant the substance of
                         any relevant oral statement made by the defendant, before or
                         after arrest, in response to interrogation by a person the
                         defendant knew was a government agent if the government
                         intends to use the statement at trial.

                  (B)    Defendant’s Written or Recorded Statement. Upon a
                         defendant’s request, the government must disclose to the
                         defendant, and make available for inspection, copying, or
                         photographing, all of the following:

                         ...

                         (ii)   the portion of any written record containing the
                                substance of any relevant oral statement made before
                                or after arrest if the defendant made the statement in
                                response to interrogation by a person the defendant
                                knew was a government agent.

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        Claville’s motion to strike the videotaped surveillance on Rule 403 grounds is

 denied. He argued that “showing only the prejudicial portion of the surveillance when any

 potential exculpatory evidence was deliberately not recorded will be misleading to the jury

 and prejudicial.” Record Document 81 at 2. Yet, Claville has no evidence to support his

 allegation that the Government deliberately failed to preserve purported exculpatory

 evidence. Claville has also failed to point to exculpatory evidence or any other evidence

 that the Government has not disclosed in violation of the Federal Rules of Criminal

 Procedure.

 Wiretapping

        Relying on Crawford v. Washington, 541 U.S. 36, 124 S.Ct. 1354 (2004), Claville

 argues that unless he “is afforded the opportunity to confront any witness against [him], any

 testimonial statements, including those recorded on the wiretaps, should be excluded.”

 Record Document 81 at 2. More specifically, he requests that “all testimonial evidence

 including the wiretappings of the other defendant, Michael Walker, and any other witnesses

 be excluded unless that individual takes the stand.” Id. at 3.

        The wiretaps and other recorded evidence in this case are not excluded under

 Crawford, which dealt with “testimonial statements against the accused in a criminal case.”

 Crawford, 541 U.S. at 56, 124 S.Ct. at 1367. The Crawford court went on to define

 “testimonial statements”:

               Testimony . . . is typically a solemn declaration or affirmation made for
        the purpose of establishing or proving some fact. An accuser who makes a
        formal statement to government officers bears testimony in a sense that a
        person who makes a casual remark to an acquaintance does not. . . .

               Various formulations of this core class of testimonial statements exist:
        ex parte in-court testimony or its functional equivalent-that is, material such

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         as affidavits, custodial examinations, prior testimony that the defendant was
         unable to cross-examine, or similar pretrial statements that declarants would
         reasonably expect to be used prosecutorially; extrajudicial statements
         contained in formalized testimonial materials, such as affidavits, depositions,
         prior testimony, or confessions; statements that were made under
         circumstances which would lead an objective witness reasonably to believe
         that the statement would be available for use at a later trial.

 Id. at 51-52, 124 S.Ct. at 1364 (internal citations and quotations omitted). Under this

 definition, Title III and other surreptitious recordings are not testimonial. See U.S. v.

 Hendricks, 395 F.3d 173, 181 (3rd Cir. 2005) (“Title III recordings cannot be deemed

 ‘testimonial’ as the speakers certainly did not make the statements thinking that they ‘would

 be available for use at a later trial.’ Rather, the very purpose of Title III intercepts is to

 capture conversations that the participants believe are not being heard by the authorities

 and will not be available for use in a prosecution. Therefore, as recognized by other courts

 that have addressed similar issues, we find that the surreptitiously monitored conversations

 and statements contained in the Title III recordings are not ‘testimonial’ for purposes of

 Crawford.”). Claville’s motion to strike the wiretaps is denied, as Crawford’s Confrontation

 Clause analysis is inapplicable to the Title III recordings in this case.

         Accordingly,

         IT IS ORDERED that the “Motion to Strike Surveillance and Wire Tapping Recorded

 by the Government” (Record Document 50) filed by the defendant, Vernon Claville, be and

 is hereby DENIED.

         THUS DONE AND SIGNED in Shreveport, Louisiana on this the 1st day of April,

 2008.




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